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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 SVITLANA DOE, et al.,

                                Plaintiffs,

        – versus –                                         Civil Action No.: 1:25-cv-10495-IT
 KRISTI NOEM, in her official capacity as Secretary
 of Homeland Security, et al.,

                                Defendants.

      PLAINTIFFS’ NOTICE AND MOTION FOR AN ORDER TO SHOW CAUSE

       Plaintiffs hereby submit this Notice to inform the Court that despite its May 28, 2025

Orders (Docs. No. 107 and 108) in which it stayed Defendants’ suspension of adjudication of

applications for parole, re-parole, and immigration status or benefits filed by individuals who

received parole pursuant to certain categorical parole programs, and certified relevant classes, the

applications of numerous class members remain paused. Plaintiffs have received multiple inquiries

from class members indicating that, in the eight days since the Court issued its Orders, Defendants

have not effectuated the Court’s ruling. In light of this, Plaintiffs seek an order from the Court

requesting that Defendants show cause as to why this Court should not find them in breach of its

May 28 Order – and to provide details on the steps that have been taken, if any, to comply with

the Order.

       Based on this Motion, the accompanying Memorandum, and exhibits attached thereto,

Plaintiffs respectfully request that the Court grant this Motion.
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Dated: June 5, 2025                                Respectfully submitted,

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                              LOCAL RULE 7.1 CERTIFICATION

I, John A. Freedman, pursuant to Local Rule 7.1(a)(2), hereby certify that counsel for the
movants have conferred in good faith with counsel for Defendants to resolve or narrow the
issues, but the parties were unable to resolve the issues.


                                              /s/ John A. Freedman
                                              John A. Freedman



                                  CERTIFICATE OF SERVICE

I, John A. Freedman, hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

Dated: June 5, 2025

                                              /s/ John A. Freedman
                                              John A. Freedman




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